     Case 3:21-cr-00051-DJH Document 1 Filed 05/18/21 Page 1 of 4 PageID #: 1




                                                                                FILED
                            UNITED STATES DISTRICT COURT                  JAMES J. VILT, JR._ CLERK
                            WESTERN DISTRICT OF KENTUCKY
                                    AT LOUISVILLE
                                                                                   MAY 18 2021
                                                                              U.S. DISTRICT COURT
UNITED STATES OF AMERICA                                                     WEST'N. DIST. KENTUCKY

                                                               INFORMATION
V.
                                                         NO.   6 ·-Jl C(L-S\ - D.1tl
                                                               31 U.S.C. § 5324
                                                               31 U.S.C. § 5331
SAMIR RAHMA TUALLAH LADHANI



The United States Attorney Charges:

                                          COUNTS 1-5
                      (Failure to File Nonfinancial Trades and Businesses)

        On or about the dates set forth below, in the Western District of Kentucky, Jefferson

County, Kentucky, the defendant SAMIR RAHMATUALLAH LADHANI, knowingly and for

the purpose of evading the reporting requirements of section 5331 of Title 31 , United States Code,

and the regulations promulgated thereunder, did cause and attempt to cause a nonfinancial trade

or business to fail to file a report required under section 5331 of Title 31, and any regulation

prescribed under any such section, as part of a pattern of illegal activity involving more than

$100,000 in a 12-month period:



 COUNT                            DATE                             AMOUNT OF CASH

 1                                4/19/2019                        $34,250

 2                                7/5/2019                         $44,750

 3                                7/22/2019                        $22,250
     Case 3:21-cr-00051-DJH Document 1 Filed 05/18/21 Page 2 of 4 PageID #: 2




 COUNT                             DATE                             AMOUNT OF CASH

 4                                 7/26/2019                        $13 ,240

 5                                 9/20/2019                        $18,850



        All in violation of Title 31 , United States Coqe, Sections 5324(b)(l) and 5324(d), and Title

31 , Code of Federal Regulations, Section 1010.330.



                                               ~~--\:± ~
                                               MICHAEL A. BENNETT
                                               ACTING UNITED STATES ATTORNEY




MAB:AMS/EGM
     Case 3:21-cr-00051-DJH Document 1 Filed 05/18/21 Page 3 of 4 PageID #: 3




UNITED STATES OF AMERICA v. Samir R. Ladhani
                                                            PE     ALTIES

Counts 1-5: NM 10 yrs./NM $250,000/both/NM 3 yrs. Supervised R~lease


                                                               NOTICE

ANY PERSON CONVICTED OF A OFFENSE AGAINST THE UNITED STATES SHALL BE SUBJECT TO SPECIAL
ASSESSME TS, FINES, RESTITUTIO & COSTS.

SPECIAL ASSESSME TS

18 U.S .C. § 3013 requires that a special assessment shall be imposed for each count of a conviction of offenses committed after
November 11 , 1984, as foll ows :

          Misdemeanor:          $ 25 per count/individual                  Felony:         $100 per count/individual
                                $ 125 per count/other                                      $400 per count/other



In addition to any of the above assessments, you may also be sentenced to pay a fine. Such fine is due immediately unl ess the court
issues an order requiring payment by a date certain or sets out an installment schedule. You shall prov ide the United States Attorney's
Office with a current mai ling address for the entire period that any part of the fine remains unpaid, or you may be held in contempt of
court. 18 U.S.C. § 357 1, 3572, 36 11 , 36 12

Fa ilure to pav fine as ordered mav subject vou to the following:

          1.     INTEREST and PENALTIES as applicable by law according to last date of offense.

                      For offenses occurring after December 12, 1987:

                      No INTEREST will accrue on fines under $2,500.00.

                      I TEREST wi ll accrue according to the Federal Civil Post-Judgment Interest Rate in effect at
                      the time of sentencing. This rate changes monthly. Interest accrues from the first business day
                      following th e two week period after the date a fine is imposed.

                      PENALTIES of:

                      I 0% of fine balance if payment more than 30 days late.

                      15% of fine balance if payment more than 90 days late.

          2.          Recordation ofa LIEN shall have the same force and effect as a tax lien.

          3.          Continuous GARNISHMENT may apply until your fine is paid.

          18   u.s.c. §§ 36 12, 3613
                      If you WILLFULLY refuse to pay your fine , you shall be subject to an ADDITIONAL FINE
                      of not more than the greater of$10,000 or twice the unpaid balance of th e fine ; or
                      IMPRISONMENT for not more than I year or both . 18 U.S.C. § 3615
     Case 3:21-cr-00051-DJH Document 1 Filed 05/18/21 Page 4 of 4 PageID #: 4




RESTITUTION

If you are convicted of an offense under Title 18, U.S.C., or under certain air piracy offenses, you may also be ordered to make
restitution to any victim of the offense, in addition to, or in lieu of any other penalty authorized by law. 18 U.S.C. § 3663

APPEAL

If you appeal your conviction and the sentence to pay your fine is stayed pending appeal, the court shall require:

           1.        That you deposit the entire fine amount (or the amount due under an installment schedule
                     during the time of your appeal) in an escrow account with the U.S. District Court Clerk, or

          2.         Give bond for payment thereof.

           18 u.s.c. § 3572(g)

PAYMENTS

If you are ordered to make payments to the U.S. District Court Clerk's Office, certified checks or money orders should be made payable
to the Clerk, U.S. District Court and delivered to the appropriate division office listed below:

                     LOUISVILLE:                      Clerk, U.S. District Court
                                                      106 Gene Snyder U.S. Courthouse
                                                      601 West Broadway
                                                      Louisville, KY 40202
                                                      502/625-3500

                     BOWLING GREEN:                   Clerk, U.S. District Court
                                                      120 Federal Building
                                                      241 East Main Street
                                                      Bowling Green, KY 42101
                                                      270/393-2500

                     OWENSBORO:                       Clerk, U.S. District Court
                                                      126 Federal Building
                                                      423 Frederica
                                                      Owensboro, KY 4230 I
                                                      270/689-4400

                     PADUCAH:                         Clerk, U.S. District Court
                                                      127 Federal Building
                                                      50 I Broadway
                                                      Paducah, KY 42001
                                                      270/415-6400

If the court finds that you have the present ability to pay, an order may direct imprisonment until payment is made.
